             Case 1:22-cv-01333-BAH Document 15 Filed 07/15/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DBW PARTNERS, LLC d/b/a THE CAPITOL
 FORUM,

 1629 K Street, N.W., Suite 300                           CIVIL ACTION NO.: 22-1333 (BAH)
 Washington, D.C. 20006
                                                             DEFENDANT’S NOTICE OF
 Plaintiff                                                     MOTION TO DISMISS
                                                           COMPLAINT FOR FAILURE TO
 v.                                                        STATE A CLAIM UPON WHICH
                                                             RELIEF CAN BE GRANTED
 MARKET SECURITIES, LLC,

 85 Broad Street, 17th Floor
 New York, New York 10004

 Defendant


DEFENDANT’S NOTICE OF MOTION TO DISMISS COMPLAINT FOR FAILURE TO
        STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

        PLEASE TAKE NOTICE THAT, upon the accompanying Memorandum of Law and all

of the prior pleadings and proceedings in this action, Defendant Market Securities, LLC

(“Defendant” or “Market Securities”), by and through its undersigned counsel, hereby moves this

Court for an Order, pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, dismissing

the Complaint filed by Plaintiff DBW Partners, LLC d/b/a The Capitol Forum, with prejudice.


Dated: July 15, 2022                                Respectfully submitted,

                                                    EPSTEIN DRANGEL LLP

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Case 1:22-cv-01333-BAH Document 15 Filed 07/15/22 Page 2 of 2




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                              2
